Case 1:19-mj-00205-JFA Document 29 Filed 01/29/20 Page 1 of 1 PageID# 57




 AO 470 f8/B51 Order ofTemporary Detention



                              UNITED STATES DISTRICT CO

                                         EASTERN DISTRICT OF VIRGINIA                              Jim 2 9

                                                                                           ^ ®%M^STRicfcoiJflr
                                                                                                       wrsiwia
                                                                                                               ■
 UNITED STATES OF AMERICA

          V.                                               ORDER OF TEMPORARY DETENTION
                                                           PENDING HEARING PURSUANT TO
                                                           BAIL REFORM ACT



                                                             CASE NO. 0^2-05
          Upon motion ofthe United States Government,it is hereby ORDERED that a

 detention hearing is set for                                     I'2rU2X^—.at—\
  before the Honorable                                                                         _ in Courtroom                   \
  at 401Courthouse Square,Alexandria, Virginia.

           Pending this hearing,the defendant shall be held in custody by the United
  States Marshal and produced for the hearing.

                                                                  Michael S. Nachmanoff
                                                                  United States Magistrate Judge
                                                            Michael S. Nachmanoff
                                                            United States Magistrate Judge



  *ir not held Immediately upon defendant's Hrstappeannce,the hearing maybe continued for up to three days upon rooUon of
  the Government,or up to live days upon moUon ofthe defendant. 18 U.S.C.§3142(0(2).
             A hearing Is required wheneverthe conditionsset forth In 18 U.S.C§3142(Q are present. Subsection(l]sets forth
  the grounds that may be asserted only by the attorney for the Goveramenu subsection(2)sutos that a hearing is mandfsled
  upon the motion ofthe attorney for the Government or upon the Judicial ofncefs own motion Ifthere Is a serious risk C^t the
  defendant(a)will flee or(b)will obstruct or attempt to obstructjustics,or threaten.in|ure.or Intimidate,or attempt tc
  threaten.Injure,or Intimidate a prospective witness or juror.
